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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

______________________________________________________________________________


 DUANE KWIATKOWSKI                               CIVIL ACTION NO:
 11317 Lake Avenue
 Cleveland, Ohio 44102                           JUDGE:

           Plaintiff,                            Magistrate Judge:

              vs.

 BEST PET SUPPLIES, INC.
 104-20 Dunkirk Street
 Jamaica, New York 11412


           Defendant



                                    NOTICE OF REMOVAL

       Defendant BEST PET SUPPLIES, INC. (“Best Pet”) by and through counsel and pursuant

to 28 U.S.C. §§1332, 1441(a), and 1446, gives notice of the removal of this cause of action from the

Court of Common Pleas, Cuyahoga County, Ohio, to the United States District Court for the

Northern District of Ohio, Eastern Division, and states as follows.
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     1. On January 28, 2021, Plaintiff Duane Kwiatkowski commenced this action in Cuyahoga

         County, Ohio as Case Number CV 21 943438. (the “state court action”)

     2. Best Pet was served with a Summons and Complaint in the state court action on February

         10, 2021. Pursuant to 28 U.S.C. § 1446(a), true and accurate copies of the Summons and

         Complaint served on Best Pet are attached as Exhibit A.

     3. Best Pet filed a Stipulation for Leave to Plead giving it until April 2, 2021 to Answer,

         Plead or otherwise move in response to Plaintiff’s Complaint.

     4. On March 24, 2021, Plaintiff’s counsel filed a Notice of Voluntary Dismissal under Ohio

         Civil Rule 41(a) and dismissed the Defendant, Miles North Randall, LLC. A true and

         accurate copy of the Court’s order dismissing Miles North is attached as Exhibit B.

     5. On April 2, 2021, Plaintiff’s counsel filed a Notice of Voluntary Dismissal under Ohio

         Civil Rule 41(a) and dismissed the Defendant, Amazon.com Services, LLC, leaving

         Defendant Best Pet Supplies, Inc. and the sole remaining defendant in the case. A true

         and accurate copy of the Court’s order dismissing Amazon is attached as Exhibit C.

     6. On April 2, 2021, Defendant Best Pet Supplies, Inc. filed an Answer to Plaintiff’s

         Complaint. (Attached as Exhibit D)


A. The Case is Removable under Diversity Jurisdiction because the Parties are Completely
                Diverse and the Amount in Controversy Exceeds $75,000.

     7. Plaintiff asserts that, at all relevant times, he was a resident of Cuyahoga County, Ohio.

         See Exhibit A, ¶2. Plaintiff is therefore a citizen of the State of Ohio.
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8. Defendant Best Pet Supplies, Inc. is a New York corporation with its principal place of

   business at 104-20 Dunkirk Street, Jamaica, New York 114121. It is therefore a citizen

   of New York.

9. Thus, as between Plaintiff and the remaining Defendant, the controversy is wholly

  between citizens of different states.

10. The amount in controversy exceeds $75,000, exclusive of interests and costs, due to the

   seriousness of the Plaintiff’s alleged injuries and damages. Where the Plaintiff has not

   pled a specific amount of damages, the amount in controversy requirement is satisfied

   when the Defendants have shown by a preponderance of the evidence that the amount in

   controversy exceeds $75,000 based on the seriousness of the Plaintiff’s claimed injuries

   and damages. 28 U.S.C. §1446(c)(2). Here, Plaintiff did not specify the amount in

   controversy, other than to state that it exceeds $25,000. However, it is apparent from the

   face of the Complaint that Plaintiff more likely than not seeks recovery of an amount in

   excess of $75,000, exclusive of costs and interest, as evidence by the following:

            a.          Plaintiff claims that he sustained “serious and permanent”

            injuries and was hospitalized for several days after allegedly contracting

            salmonella poisoning from pig ear dog treats. See Exhibit A, ¶¶ 1, 24,

            26, & 27.

            b.          Plaintiff alleges various injuries and damages as a result of the

            incident, including “pain and suffering, mental anguish, physical

            impairment, physical disfigurement, loss of enjoyment of life, medical

            and pharmaceutical expenses, travel and travel-related expenses,

            emotional distress, lost wages, lost earning capacity, loss of consortium,
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            attorneys’ fees (to the extent recoverable) and other general, special,

            ordinary, incidental damages, and consequential damages as would be

            anticipated to arise under the circumstances.” Id. at ¶72. He is also

            seeking punitive damages (see id. at ¶73) which count towards the

            amount in controversy. See Crosby v. Am. Online, Inc., 967 F. Supp.

            257, 261 (N.D. Ohio 1997) (“in addition to compensatory damages,

            potential awards of attorney’s fees and punitive damages can count

            toward the amount-in-controversy.”).

            c.         Plaintiff seeks compensatory damages in excess of $25,000

            for each of his six causes of action. See generally Exhibit A.

11. Based on the nature of the alleged injuries and Plaintiff’s claims, it is facially evident

   from the allegations of the Complaint that Plaintiff seeks in excess of $75,000.00,

   exclusive of interests and costs, and that the requisite amount of controversy required

   under 28 U.S.C. §1332 is therefore satisfied. See e.g., Driscoll v. Wal-mart Stores E.,

   Inc., 2009 WL 4730709, at *2 (S.D. Ohio Dec. 10, 2009) (finding amount in controversy

   satisfied by plaintiff’s allegations of injuries resulting from employee allegedly

   negligently dropping gun safe on his finger, including “medical bills; lost wages; pain

   and suffering; annoyance, inconvenience, mental and emotional anguish; and diminished

   ability to fully function and enjoy life”) Monroy v. Cont’l Airlines, Inc., 2009 WL

   1687929, at *2 (S.D. Ohio June 12, 2009) (finding amount in controversy satisfied by

   allegations of permanent physical injury, great pain and emotional suffering, and past

   and future medical expenses).
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12.      The United States District Court, pursuant to the provisions of 28 U.S.C. §1332,

has jurisdiction over this action because there is complete diversity, and, upon information

and belief, the matter in controversy exceeds the sum of $75,000, exclusive of interest and

costs.

                                   B. This Filing is Timely

13.      Pursuant to 28 U.S.C. 1446(b)(3), “a notice of removal may be filed within 30 days

after receipt by the defendant, through service or otherwise, of a copy of an amended

pleading, motion, order or other paper from which it may first be ascertained that the case is

one which is or has become removable.” This case became removable when Miles North

was dismissed on March 24, 2021. Best Pet has until April 23, 2021 to file removal papers

and this Notice of Removal is timely.

                                C. Pleadings in State Court

14.      After filing this Notice, Best Pet will, pursuant to 28 U.S.C. §1446(d), promptly give

written notice to Plaintiff and will file a copy of this Notice with the Court of Common

Pleas, Cuyahoga County, Ohio.

                               D. Venue of Removed Action

15.      The United States District Court for the Northern District of Ohio, Eastern Division

is the district and division embracing the state court where this action was filed and is

pending. Venue is proper in this Court under 28 U.S.C. §1441(a).

                                E. Non-Waiver of Defenses

16.      Best Pet expressly reserves all of its defenses. By removing the action to this Court,

Best Pet does not waive any rights or defenses available under federal or state law. Best

Pet expressly reserves the right to move for dismissal of the Complaint pursuant to Rule
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       12(b) of the Federal Rules of Civil Procedure. Nothing in this Notice of Removal should

       be taken as an admission that Plaintiff’s allegations are sufficient to state a claim against

       Best Pet or that they have any substantive merit.

       WHEREFORE, Defendant BEST PET SUPPLIES, INC. provides notice that this action is

removed to the United States District Court for the Northern District of Ohio, Eastern Division

pursuant to 28 U.S.C. § 1441 and 1446, and that the Common Pleas Court of Cuyahoga County,

Ohio shall proceed no further unless this case is remanded.



                                             Respectfully submitted,
                                             /s/ Matthew M. Duffy
                                             ________________________________
                                             Matthew M. Duffy (Ohio #0071371)
                                             SENIOR TRIAL ATTORNEY
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                                             INC.
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                                   CERTIFICATE OF SERVICE

             A copy of the foregoing was sent this 23 rd day of April, 2021 via email only to the
following:

MARK ABRAMOWITZ, ESQ.
Attorney for Plaintiff
mabramowitz@dicellolevitt.com

and

RON SIMON, ESQ.
Attorney for Plaintiff
ron@rsaalaw.com




                                       /s/Matthew M. Duffy
                                       ____________________________
                                       Matthew M. Duffy, Esq.
                                       (Ohio Attorney No. #0071371)
